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                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

MILLICENT R. BARASCH, individually
and on behalf of others similarly situated,

       Plaintiff,

v.                                              Civil Action No.1:19-cv-01079-LY

GPB CAPITAL HOLDINGS, LLC; DAVID   Judge Lee Yeakel
GENTILE; WILLIAM JACOBY;
MINCHUNG KGIL; MANUEL              Magistrate Judge Hightower
FREDERICO VIANNA; DOTTY J.
BOLLINGER; MICHAEL FROST; EVAN
MYRIANTHOPOULOS; ABHAYA
SHRESTHA; MICHAEL COHN; STEVEN
FRANGIONI; SCOTT NAUGLE; GPB
HOLDINGS, LP; GPB HOLDINGS II, LP;
GPB AUTOMOTIVE PORTFOLIO, LP;
GPB COLD STORAGE, LP; GPB WASTE
MANAGEMENT FUND, LP; GPB
HOLDINGS III, LP; GPB HOLDINGS
QUALIFIED, LP; GPB NYC
DEVELOPMENT, LP; ASCENDANT
CAPITAL, LLC; ASCENDANT
ALTERNATIVE STRATEGIES, LLC;
AXIOM CAPITAL MANAGEMENT, INC.;
JEFFRY SCHNEIDER; MARK D.
MARTINO; DJ PARTNERS LLC; MR
RANGER, LLC; RSM US LLP (f/k/a
McGLADREY LLP); EISNERAMPER LLP;
GENTILE PISMENY & BRENGEL, LLP;
CROWE, LLP; CROWE GLOBAL; DOE
AUDITORS 1 through 10; PHOENIX
AMERICAN FINANCIAL SERVICES, INC.;
CKGF HOLDING LLC; McANNA, LP;
ROBERT KESSLER; GERALD
FRANCESE; RINA CHERNAYA; and
DIANA CHERNAYA

      Defendants




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                      PLAINTIFF’S FIRST AMENDED COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff Millicent R. Barasch through her sons, Jeffrey Barasch and Phillip Barasch in

their capacities as powers of attorney and/or trustee of the Millicent Barasch Trust (“Plaintiff”),

individually and on behalf of all others similarly situated, alleges on personal knowledge,

investigation of her counsel, and on information and belief, as follows:

                                    I. NATURE OF ACTION

       1.      GPB Capital Holdings, LLC (hereafter “GPB Capital”), led by its CEO David

Gentile (“Gentile”), CFO William Jacoby (“Jacoby”), former CFO Minchung Kgil, and its

Directors and Partners, 1 ran a Ponzi scheme, by and through a series of limited partnerships—

GPB Holdings, LP, GPB Holdings Qualified, LP, GPB Holdings II, LP, GPB Automotive

Portfolio, LP, GPB Cold Storage, LP, GPB NYC Development, GPB Waste Management, LP,

and GPB Holdings III, LP (hereafter, collectively, “the GPB Funds”). On the surface, the GPB

Capital Ponzi scheme was a garden variety Ponzi scheme. Investors were promised 8% returns

guaranteed, and those purported returns were generated not by actual investment returns, but by

tapping the capital investments of the next round of investors (or, in some cases, from the capital

accounts of the investor itself, cannibalizing a particular investor’s own principal). GPB Capital



1
  This includes Defendants Manuel Fredercio Vianna (Managing Partner of GPB Capital), Dotty
J. Bollinger (Managing Partner of GPB Capital), Michael Frost (Managing Partner of GPB
Capital), Evan Myrianthopoulos (Managing Partner of GPB Capital), Abhaya Shrestha
(Managing Partner of GPB Capital), Michael Cohn (Managing Director and Chief Compliance
Officer of GPB Capital), Stephen Frangioni (Director of Fund accounting of GPB Capital), and
Scott Naugle (Managing Director of Automotive Retail for GPB Capital). Hereafter, along with
Gentile, Jacoby, and Kgil “the GPB Principals.”

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was able to keep this enterprise afloat for several years, long enough to generate $1.8 billion in

investment capital, a significant percentage of which was siphoned into the pockets of GPB

Capital’s principals. Plaintiff was one of those individuals who invested in the GPB Capital

Ponzi scheme.

       2.       Behind the public-facing façade of GPB Capital and the GPB Funds, however,

lurked a complex web of entities and individuals who propped up, facilitated, and financially

benefitted, from the GPB Capital Ponzi scheme. Like an onion, every time you peel a layer off

of the outer surface, you find another layer underneath, each layer ultimately profiting off of the

investors who put their money into the illegal machine of GPB Capital.

       3.       The first layer of the onion is Ascendant Capital, LLC and Ascendant Alternative

Strategies, LLC (together, “Ascendant”) and Axiom Capital Management, Inc. These entities

served as the underwriters for the GPB Funds, and thus responsible for setting up and

distributing the GPB Funds shares to investors (thus, hereafter, “the Underwriters”).

Undisclosed to potential investors was the fact that the Underwriters and GPB Capital were

functionally the same entity, as they were both collectively owned by Jeffry Schneider, the head

of Ascendant (“Schneider”), Mark Martino, the head of Axiom Capital Management (“Martino”)

and Gentile. 2 This is a flagrant and outrageous conflict of interest, made worse by the fact that

both Schneider and Martino have been subject to multiple disciplinary and legal proceedings

related to their conduct in the securities space, proceedings that should have disqualified them

from serving as the underwriters for the GPB Funds at all.

       4.       The second layer of the onion are the entities that facilitated the Ponzi scheme,

RSM US LLP (“RSM”), Gentile Pismeny & Brengel LLP, Crowe, LLP, Crowe Global and the


2
  Schneider, Martino, Gentile, DJ Partners LLC, and MR Ranger LLC are hereafter collectively
“the GPB Owners.”

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Doe Auditors 1 through 10 (hereafter, “the Auditors”) who served as the auditor for at least some

of the GPB Funds, as well as Phoenix American Financial Services, Inc., who served as the fund

administrator (“the Fund Administrator”). These entities “papered over” GPB Capital’s

malfeasance, issuing documents and audits that were at times blatantly false, and consistently

misleading. In addition, EisnerAmper LLP, (“EisnerAmper”), was brought in as “cover” for

GPB’s ongoing activities when the cracks began to appear, reassuring investors such as Plaintiff

and class members that GPB was a viable, going concern. Without these entities, GPB Capital

and its principals would not have been able to keep the scheme afloat, and thus not able to

extract proceeds from Plaintiff and other investors.

       5.      On top of all that, the third layer of the onion is a series of self-dealing

transactions that the GPB Funds entered into that provided yet another (illegal) revenue stream

for GPB principals and their associates. Plaintiff expects that, when the entirety of GPB

Capital’s malfeasance comes to light, there will be many of these inside deals. But, for the

present, Plaintiff is aware of one of them in detail. GPB Capital, through GPB Automotive

Portfolio, LP, over a period of about nine months purchased DJD Holdings, LLC, which owned a

series of car dealerships under the umbrella of the Lash Auto Group. DJD Holdings, LLC, in

turn, was 85% owned by CKGF Holding, LLC, and CKGF was in turn owned by Gentile,

McAnna, Ltd., Rina Chernaya, Diana Chernaya, Robert Kessler, and Gerald Francese

(collectively, with CKGF Holding, LLC, “CKGF”). Thus, GPB Capital (controlled by Gentile)

bought the assets of the conglomerate controlled by Gentile and his associates, funneling money

from Plaintiff and investors into the pockets of Gentile and his associate. None of these

improper and self-dealing transactions were disclosed.




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        6.      Through this action, Plaintiff and other similarly situated investors seek to

encompass the entirety of the onion that is GPB. In doing so, Plaintiff and the class seek to hold

all responsible parties accountable for what at the end of the day is a $1.8 billion fraud on

investors.

                                II. JURISDICTION AND VENUE

        7.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act of 2005 (“CAFA”) codified as 28 U.S.C. § 1332(d)(2). The matter in controversy exceeds

$5,000,000, in the aggregate, exclusive of interest and costs.

        8.      This Court has personal jurisdiction over each Defendant because each Defendant

was involved in the operation, selling, or distribution of the GPB Funds. The GPB Funds were

underwritten by, and thus originated from, Defendant Ascendant, which is located in Austin,

Texas. As such, all Defendants have purposefully availed themselves of the laws of the State of

Texas and have established minimum contacts with the State of Texas.

        9.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Ascendant, one of the key Defendants, maintains its principal place of business in this district,

Defendant Schneider resides in this district, and a substantial part of the events or omissions

giving rise to the claims occurred in this district.

                                            III. PARTIES

        10.     Plaintiff Millicent Barasch is, and was at all times mentioned herein, an individual

citizen of the State of Florida, and currently resides in that state.

        11.     Defendant GPB Capital Holdings, LLC is a Delaware limited liability company

with a principal place of business in New York City. GPB is the general partner of the GPB

Funds and was at all relevant times the control person, manager, and majority owner of the GPB



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Funds. GPB, therefore, effected the GPB Funds’ securities offerings. GPB is an investment

advisor registered under the Investment Advisers Act of 1940 (“IAA”).

       12.     Defendant David Gentile is, and was at all times mentioned therein, an individual

citizen of the State of New York, and currently resides in that state. Defendant Gentile is, among

other relevant roles, the Chief Executive Officer of GPB Capital Holdings, LLC.

       13.     Defendant William Jacoby is, and was at all times mentioned therein, an

individual citizen of the State of New York, and currently resides in that state. Defendant Jacoby

is the Chief Financial Officer of GPB Capital Holdings, LLC.

       14.     Defendant Minchung Kgil is, and was at all times mentioned therein, an

individual citizen of the State of New York, and currently resides in that state. Defendant Kgil

was the Chief Financial Officer of GPB Capital Holdings, LLC.

       15.     Defendant Manuel Frederico Vianna is, and was at all times mentioned therein, an

individual citizen of the State of New York, and currently resides in that state. Defendant

Vianna was a Managing Partner of GPB Capital Holdings, LLC.

       16.     Defendant Dotty Bollinger is, and was at all times mentioned therein, an

individual citizen of the State of Tennessee, and currently resides in that state. Defendant

Bollinger was a Managing Partner of GPB Capital Holdings, LLC.

       17.     Defendant Michael Frost is, and was at all times mentioned therein, an individual

citizen of the State of Texas, and currently resides in that state. Defendant Frost was a Managing

Partner of GPB Capital Holdings, LLC.

       18.     Defendant Evan Myrianthopoulos is, and was at all times mentioned therein, an

individual citizen of the State of New York, and currently resides in that state. Defendant

Myrianthopoulos is a Managing Partner of GPB Capital Holdings, LLC.



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         19.   Defendant Abhaya Shrestha is an individual citizen of the State of New York and

currently resides in that state. Prior to 2018, Defendant Shrestha was an individual citizen of the

State of New Jersey. Defendant Shrestha was a Managing Partner of GPB Capital Holdings,

LLC.

         20.   Defendant Michael Cohn is, and was at all times mentioned therein, an individual

citizen of the State of New York, and currently resides in that state. Defendant Cohn was a

Managing Director and the Chief Compliance Officer of GPB Capital Holdings, LLC.

         21.   Defendant Steven Frangioni is, and was at all times mentioned therein, an

individual citizen of the State of New York, and currently resides in that state. Defendant

Frangioni was the Director of Fund Accounting of GPB Capital Holdings, LLC.

         22.   Defendant Scott Naugle is, and was at all times mentioned therein, an individual

citizen of the State of New York, and currently resides in that state. Defendant Naugle is the

Managing Director of Automotive Retail of GPB Capital Holdings, LLC

         23.   Defendants GPB Holdings, LP, GPB Holdings II, LP, GPB Holdings III, LP,

GPB Holdings Qualified, LP, GPB Automotive Portfolio, LP, GPB Cold Storage, LP, GPB NYC

Development, LP, and GPB Waste Management Fund, LP are limited partnerships that were

organized under the laws of Delaware for the purpose of investing each of the Funds’ cash assets

into operating businesses in various industries. GPB was the general partner for each of the

Funds.

         24.   Defendant Ascendant Capital, LLC is a Texas corporation and has a principal

place of business in this district in Austin, Texas.

         25.   Defendant Ascendant Alternative Strategies, LLC is a Delaware corporation and

has a principal place of business in this district in Austin, Texas.



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       26.     Defendant Axiom Capital Management, Inc. is a Delaware corporation and has a

principal place of business in this district in New York, New York.

       27.     Defendant Jeffry Schneider is, and was at all times mentioned therein, an

individual citizen of the State of Texas, and currently resides in that state. Defendant Schneider

is, among other relevant roles, a former employee of Axiom Capital Management and the CEO

of Ascendant Capital, LLC.

       28.     Defendant Mark Martino is, and was at all times mentioned therein, an individual

citizen of the State of New York, and currently resides in that state. Defendant Martino is,

among other relevant roles, the former CEO of Axiom Capital Management and the current CEO

of Ascendant Alternative Strategies, LLC.

       29.     Defendant DJ Partners, LLC is a Delaware corporation and has a principal place

of business in this district in Austin, Texas. On information and belief, DJ Partners owns a

substantial interest in Ascendant Alternative Strategies, LLC, and in turn is owned and controlled

by Defendants Gentile and Schneider.

       30.     Defendant MR Ranger, LLC is a Delaware corporation and has a principal place

of business in this district in White Plains, New York. On information and belief, MR Ranger

owns a substantial interest in Ascendant Alternative Strategies, LLC, and in turn is owned and

controlled by Defendant Martino.

       31.     Defendant RSM US LLP, formerly known as McGladrey LLP, is a limited

liability partnership with it principal place of business in Chicago, Illinois. On information and

belief, Defendant RSM US LLP was the auditor of GPB Capital Holdings and at least the GPB

Holdings II Fund.




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       32.     Defendant EisnerAmper LLP is a limited liability partnership with it principal

place of business in New York, New York. On information and belief, Defendant EisnerAmper

LLP was the auditor of GPB Capital Holdings and at least some of the GPB Funds.

       33.     Defendant Gentile Pismeny & Brengel LLP is a limited liability partnership with

it principal place of business in Garden City, New York. Upon information and belief,

Defendant Gentile Pismeny & Brengel LLP was the accounting firm for GPB Capital Holdings

and at least some of the GPB Funds.

       34.     Defendant Crowe, LLP is a limited liability partnership with its principal place of

business in Chicago, Illinois. Upon information and belief, Defendant Crowe LLP was the

auditor of GPB Capital Holdings and at least some of the GPB Funds.

       35.     Defendant Crowe Global is an Association organized according to the laws of the

nation of Switzerland, and has a principal place of business in New York, New York. On

information and belief, Crowe LLP is a wholly owned subsidiary of Crowe Global.

       36.     Defendant Doe Auditors 1 through 10 are the currently unknown additional

auditors retained by Defendant GPB Capital to perform audits on the GPB Funds.

       37.     Defendant Phoenix American Financial Services, Inc. is a California corporation

with its principal place of business in San Rafael, California.

       38.     Defendant CKGF Holding, LLC is a New York corporation and has a principal

place of business in this district in New York, New York.

       39.     Defendant McAnna, LP is a limited partnership with its principal place of

business in Boca Raton, Florida. On information and belief, Defendant McAnna, LP, owns or

controls a substantial interest in CKGF Holding, LLC.




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         40.    Defendant Robert Kessler is, and was at all times mentioned therein, an individual

citizen of the State of New York, and currently resides in that state. On information and belief,

Defendant Robert Kessler owns or controls a substantial interest in CKGF Holding LLC.

         41.    Defendant Gerald Francese is, and was at all times mentioned therein, an

individual citizen of the State of Rhode Island, and currently resides in that state. On

information and belief, Defendant Gerald Francese is the registered agent for CKGF Holding

LLC.

         42.    Defendant Rina Chernaya is, and was at all times mentioned therein, an individual

citizen of the State of Florida, and currently resides in that state. On information and belief,

Defendant Rina Chernaya owns or controls a substantial interest in CKGF Holding LLC.

         43.     Defendant Diana Chernaya is, and was at all times mentioned therein, an

individual citizen of the State of Florida, and currently resides in that state. On information and

belief, Defendant Diana Chernaya owns or controls a substantial interest in CKGF Holding LLC.

                                IV. FACTUAL ALLEGATIONS

       The Formation of the GPB Funds, the Role of the Underwriters, and GPB Owners

         44.    In or about 2012, Defendant Jeffry Schneider formed Ascendant Capital, LLC, as

an Austin-based branch of Defendant Axiom Capital Management, LLC. The CEO of Axiom at

the time of the formation of Ascendant was Defendant Mark Martino.

         45.    In or about 2013, Schneider and Ascendant partnered with Defendant David

Gentile to form GPB Capital in order to create “an income-producing private equity fund.” 3

Defendant William Jacoby served as CFO of GPB Capital.




3
    See http://www.foundingaustin.com/home/ascendantcap

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       46.     Under this model, GPB Capital would act as the general partner of a series of

Funds that each had specific investment strategies (or, more accurately, purported investment

strategies). Investments in the funds would be made at the direction of the general partner, GPB

Capital.

       47.     Investors would buy limited partnerships in one or more of the funds, and would

thus be entitled to receive investment proceeds from the funds.

       48.     As part of this partnership, Ascendant distributed the limited partnerships

investments that would be created by GPB Capital in the GPB Funds. By 2015, in Schneider’s

own words, Ascendant Capital was “dedicated. . . to structuring funds and raising capital

exclusively for GPB.”

       49.     As the self-described “co-founder” of GPB Capital, Ascendant and Schneider

have a clear conflict of interest, as they were acting as the purportedly neutral broker for the GPB

Funds limited partnerships, when in fact they were at the same time acting as, at a minimum, an

advisor to GPB Capital. At no time were any of these conflicts of interest disclosed by either

GPB or Ascendant to investors or potential investors.

       50.     This conflict of interest became more acute in 2017. At that time, Ascendant

Capital became fully independent of Axiom Capital Management, and conducted its distribution

and underwriting services by and through Ascendant Alternative Strategies, LLC, as a broker-

dealer. Ascendant Alternative Strategies was owned by Defendant DJ Partners, LLC and MR

Ranger, LLC. DJ Partners was in turn owned by Gentile and Schneider, while MR Ranger was

owned by former Axiom CEO Martino.

       51.     In other words, the entity that was creating the limited partnerships, the broker-

dealer that was distributing those partnerships, and the entity that was managing the money



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coming in from those limited partnerships were all controlled by the same common group of

people, sharing the proceeds of all three phases of the process in common. As such, Gentile,

Schneider and Martino were both the “GPB Owners,” as well as the motive force behind the

Underwriters for the GPB Funds that made the operation of the Funds possible.

       52.     Once again, this blatant conflict of interest was at no time disclosed to investors

or potential investors in prospectuses or other documents.

                        The GPB Funds Were, and Are, a Ponzi Scheme

       53.     From day one, the GPB Funds were a scam. The business model of the Funds

was nonsensical.

       54.     The nonsensical nature of GPB Capital’s strategy was covered up by blatant and

overtly false statements made by GPB Capital, transmitted and amplified by the Underwriters.

       55.     At the heart of GPB Capital’s deception was a simple claim—the GPB Funds

return 8% annually to investors in the limited partnerships, kicking in only three months after an

investor buys into the Funds.

       56.     Indeed, the GPB Funds did pay 8% consistent annual returns—on paper. Each

investor in the GPB Funds received an annual statement showing an 8% return, on top of their

principal investment.

       57.     These annual statements were wholly fraudulent. In actual fact, the GPB Funds

were paying these “returns” out of the investment capital of other investors, or even out of the

investment capital of the investor himself or herself. There were no investment proceeds, and no

actual returns, only a set of fake numbers on a piece of paper.

       58.     Not surprisingly, the true nature of these “returns” was not disclosed to investors;

in fact, GPB Capital and the Funds were saying precisely the opposite. For example, the GPB

Automotive Portfolio LP’s Private Placement Memorandum (the equivalent of a prospectus,

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hereafter “PPM”), stated unambiguously that “we will make distributions based on cash flow we

have received from Dealerships.” This was completely false.

       59.     Likewise, at the end of 2015, GPB Capital sent a letter to investors in GPB

Holdings II LP stating “[w]ith 9 assets generating healthy cash flow to the Fund, GPB continues

to pay all distributions at the stated rate of 8% fully covered from funds from operations.” This,

once again, was completely untrue, as “distributions” were being made from investor capital.

       60.     Indeed, GPB Capital filed documents with the SEC that, in essence, admitted that

they were running a Ponzi scheme:

               No Assurance of Distributions. Any distributions can be paid out of any
               available working capital, which includes Investor’s invested capital in the
               Company. Amounts that the Companies distribute to Investors have in the past
               accordingly included, and may in the future accordingly include, invested capital
               and have not been, and may not in the future be, entirely comprised of income
               generated by the Portfolio Companies.

May 1, 2019 Form ADV. This information was not communicated to investors.

All Parties to the GPB Funds—Except the Investors—Handsomely Profited From the GPB
                               Funds’ Ponzi Scheme

       61.     While investors were receiving fake “distributions” that cannibalized their own

investments, everyone else involved with the GPB Funds were receiving very real, and very

substantial, proceeds from the fraudulent operations of the Funds.

       62.     GPB Capital and the Underwriters (and, thus, the GPB Owners) realized

handsome profits from the exorbitant fee structure of the GPB Funds. For example, the

Automotive Portfolio LP’s PPM discloses that an investor will be charged due diligence fees

(1% of invested capital), placement and marketing support fees (1.75%), wholesaling fees (up to

1.25%), organizational expenses (up to 1.25%), managerial assistance fees (2.0% of capital

contributions), acquisition fees (between 1.75% and 2.75% of the price of assets acquired), and

partnership expenses. Thus, for every dollar invested in the GPB Funds, at least 7.25 cents are

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taken off the top, before any of that money is actually invested in any holdings. If the money

invested is actually put to work and invested, the price rises to 10 cents or more—before the

investors’ funds even have the opportunity to make any returns.

       63.      On top of that, GPB Funds offered extraordinary sales commissions to broker-

dealers who marketed the limited partnerships to investors, including Ascendant when it sold the

partnerships directly to investors. Contrary to the standard practice in the industry, these

commissions were paid by the investor, not by the issuer of the limited partnerships. More to the

point, they ranged from 7% to as high as 11% of the capital invested—far beyond any similar

offering.

       64.      Taken together, when an investor signed on the dotted line and put money into the

GPB Funds, 20% or more of that money was immediately extracted to pay GPB, the

Underwriters, and brokers. With a book value of over $1.8 billion for the GPB Funds, this

represents many hundreds of millions of dollars in fees paid to these parties by investors in the

GPB Funds.

       65.      On top of all of that, GPB Capital paid itself a 20% commission on any returns

the Funds actually realized, in the form of “management and performance fees.”

       66.      Given this fee structure, it was essentially economically and logically impossible

for the GPB Funds to return a real profit to investors. An investor was, in essence, down 20% or

more from day one of the investment in the form of the fees taken out by GPB Capital, the

Underwriters, and brokers. And, if the Fund actually made some returns on its investments, a

significant portion was siphoned off to the GPB Principals.

                         The GPB Funds Were Unregistered Securities

       67.      While all of this was occurring, the GPB Funds were operating, and being sold as,

improper unregistered securities.

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        68.     Under Texas law, securities that are, inter alia, not registered on an approved

stock exchange are subject to registration requirements, either directly with the Texas Securities

Commissioner or via “coordination” with the SEC. See Texas Revised Civil Statutes, art. 581-

7(B) (registration by notification) and (C) (registration by coordination).

        69.     The GPB Funds were not properly registered with either the Texas Securities

Commissioner or with the SEC.

        70.     Moreover, the limited partnerships in the GPB Funds were clearly subject to

registration. Under Section 12(g) of the Exchange Act, a class of securities with more than

$10,000,000 in assets and 2,000 or more equity holders are subject to registration. See 15 U.S.C.

§ 78l(g).

        71.     Many if not all of the Funds met the requirement for registration under the Section

12(g) on this basis, and yet failed to register.

 The GPB Funds Engaged In Extensive Self-Dealing, Including Through CKGF Holdings

        72.     The outrageous fee structure was not the only manner in which Defendant Gentile

enriched himself in operating GPB Capital and the GPB Funds. He also engaged in self-dealing,

having GPB Capital purchase entities for the GPB Funds that were owned by Gentile and his

associates.

        73.     Plaintiff anticipates that discovery in this matter will reveal many connections and

insider transaction associated with the GPB Funds. Plaintiff’s pre-filing investigation has

revealed, however, one such relationship which, Plaintiff suggests, is representative of the inside

transactions and relationships connected with the GPB Funds.

        74.     Defendant CKGF Holding LLC is an investment vehicle for the Chernaya family.

According to Court records, 46.47% of CKGF Holding LLC was owned by Defendant McAnna,

Ltd., 23.4% was owned by Defendant Rina Chernaya, 23.4% was owned by Defendant Diana

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Chernaya, 2.94% was owned by Defendant David Gentile, 2.94% was owned by Defendant

Robert Kessler, and 1.18% was owned by Defendant Gerald Francese.

       75.     As such, Defendant Gentile was an insider of CKGF Holding LLC, and would

personally benefit from any transactions in which CKGF was a party.

       76.     In 2012, CFKG Holding LLC was the majority owner of DJD Holdings, LLC and

DJD Holdings2, LLC (collectively, “DJD”). DJD in turn was the owner of two car dealerships

in New York state, Lash Auto Group (“LAG”) d/b/a Volkswagen of White Plains and Lash Auto

Group 2 (“LAG2”) d/b/a Volkswagen of Oneonta.

       77.     On May 13, 2013, GPB Automotive purchased 51% of both DJD entities, at a

cost of $3,000,000. As a part owner of the DJD entities, by and through his ownership stake in

CKGF Holding, Gentile was personally enriched by this transaction, along with his business

associates.

       78.     On February 13, 2014, GPB Automotive purchased the remaining 49% of DJD

Holdings, LLC and 44.1% of DJD Holdings2, LLC, for a total price of $2,178,250. Thus, once

again, Gentile and his business associates were personally enriched from the receipt of investor

income from the GPB Funds.

       79.     At no point were any of these insider transactions disclosed to investors or

potential investors.

   The GPB Funds’ Ponzi Scheme Was Made Possible By The Fund Administrator, the
                            Auditors, and EisnerAmper

       80.     None of the activities of GPB Capital and the GPB Funds would have been

possible without the assistance of three additional parties—the Fund Administrator, the Auditors,

and later EisnerAmper.




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       81.       The Fund Administrator was also a key component in the operation of the GPB

Funds. According to the Automotive PPMs, the Fund Administrator provided “Full Service

Investor Administration” and “Investor Relations,” included distributions, redemptions, account

summary documents, commission calculation, and regulatory compliance. On information and

belief, the Fund Administrator provided those same services to the other GPB Funds as well.

       82.       In keeping with these duties, the Fund Administrator did have, or should have

had, access to financial statements and records from the GPB Funds that demonstrated the fee

structure of the GPB Funds, as well as payments made to GPB Capital, the Underwriters, and the

Broker-Dealers pursuant to that structure.

       83.       In addition, the Fund Administrator did have, or should have had, access to

financial statements and records from the GPB Funds that demonstrated that GPB Capital was

using investment capital to pay annual returns to investors, as opposed to using investment

returns.

       84.       Instead, the Fund Administrator prepared and distributed account statements that

did not reflect any of these facts, and portrayed to investors that their investment principal was

intact, and that it was earning annual returns consistent with GPB Capital’s representations.

       85.       These statements, which the Fund Administrator knew or should of have known

were fraudulent, allowed GPB Capital to conceal the nature of its operations, as well as the

nature and amount of the proceeds it and other selected entities were receiving, at the expense of

the investors.

       86.       The Auditors, did have, or should have had, access to financial statements and

records from the GPB Funds that demonstrated that GPB Capital was using investment capital to

pay annual returns to investors, as opposed to using investment returns.



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       87.     Instead, the Auditors prepared and distributed audited financial statements that

did not reflect any of these facts, and portrayed to investors and other concerned parties that the

GPB Funds were producing returns consistent with GPB Capital’s representations, and that

investors stood to receive significant investment returns.

       88.     These statements, which the Auditors knew or should of have known were

fraudulent, allowed GPB Capital to conceal the nature of its operations, as well as the nature and

amount of the proceeds it and other selected entities were receiving, at the expense of the

investors.

       89.     Finally, Eisner Amper, was brought on as auditor of the GPB Funds on November

2, 2018, after the previous auditor (Crowe Global) resigned.

       90.     Eisner Amper was touted by GPB principals as a guarantee of the solidity and

legitimacy of the GPB Funds. Eisner Amper knew or should have known that its association

with the GPB Funds was being communicated directly to investors for the purpose of causing

those investors to retain their investment positions with the GPB Funds.

       91.     On information and belief, in May 2019, Eisner Amper received a questionnaire

from David Rosenberg which disclosed the inside and improper nature of the transactions set

forth in paragraphs 72 through 79, supra. See Rosenberg et al. v. GPB Prime Holdings, LLC,

Case No. 19-0925 (Mass. Sup. Ct. [Norfolk Cnty.]), ¶ 72. Thus, as of at least that date, Eisner

Amper had concrete knowledge of GPB Capital’s improprieties.

       92.     Investment advisor newsletters and GPB’s own investor updates touted GPB’s

relationship with Eisner Amper:

               a.      “We continue to await the completion of the audits through 2018 which

Eisner Amper is targeting for 9/30 completion. Once complete, the company will have more



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flexibility in terms of dividend payments, information dissemination to investors, corporate

borrowings, and deal structuring.” Traphagen Financial Group, Q2 2019 Market Synopsis.

               b.     “Audits and Fair Market Values: We remain focused on completing our

audited financial statements and filing our Form 10s with the SEC. Additionally, we expect to

release Fair Market Values (“FMVs”) for each Partnership and, for the first time, for each

Limited Partner, in the next two weeks.” GPB Letter to Partners, dated October 29, 2019.

               c.     “GPB Management has also shared further details of this event with you,

and on October 30, state it does not currently believe the developments related to Mr. Cohn will

further delay the delivery of the audited financials beyond the December 31, 2019 deadline.”

Madison Avenue Securities, Letter to Investor, dated November 15, 2019.

       93.     Despite having this knowledge, and despite knowing that its continued association

with the GPB Funds was being used by GPB Capital and the GPB Principals to convince

Plaintiff and Class Members to maintain their investments, Eisner Amper continued to serve as

auditor of the GPB Funds.

 All Parties to the GPB Funds—Except the Investors—Acted in Concert in Furtherance of
                                  the Ponzi Scheme

       94.     As set forth above, many hands found their way into the pocket of the GPB

Funds, and thus into the pockets of the investors in the GPB Funds.

       95.     While the ways in which they profited off the GPB Funds varied from Defendant

to Defendant, all of them knew the score—that the GPB Funds were a Ponzi scheme, designed to

enrich everyone involved except the investors.

       96.     Armed with this knowledge, each Defendant played their respective parts in order

to advance their individual interests at the expense of the investors. Each part was necessary in

order for the GPB Funds Ponzi scheme to operate as it did.


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                                The Named Plaintiff’s Experience

        97.     Throughout 2017, Plaintiff Millicent R. Barasch purchased three units of GPB

Automotive Portfolio limited partnership, at a purchase price of $150,000.

        98.     Throughout 2017, Plaintiff Millicent R. Barasch purchased four and four-tenths

units of GPB Holding II limited partnership, at a purchase price of $220,000.

        99.     Throughout 2017 and 2018, Plaintiff Millicent R. Barasch purchased over five

units of GPB Waste Management limited partnership, at a purchase price of $281,570.40.

        100.    Beginning in January 2017 throughout at least the end of 2018, Plaintiff received

account statements from the Fund Administrator regarding her ownership of GPB Holdings II,

GPB Automotive, and GPB Waste Management. The statements show a “total capital invested”

amount equaling $651,570.40, and distributions totaling $68,074.96 through the end of 2018.

        101.    By the end of 2018, Plaintiff’s account statements contained a cryptic disclaimer

that had not been previously present. 4

                                  V. FRAUD ALLEGATIONS

        102.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.

        103.    Plaintiffs make the following specific fraud allegations with as much specificity

as possible absent access to the information necessarily available only to Defendants.

        104.    Who: Defendants GPB Capital, the GPB Funds, the GPB Principals, and the

GPB Owners.




4
 See Ex B., at 7 (“THIS DISTRIBUTION STATEMENT SHOULD NOT BE CONSIDERED A
STATEMENT OF THE PARTNERSHIP’S PERFORMANCE. INVESTMENT INVOLVES
SIGNIFICANT RISK AND INVESTORS MAY LOSE SOME OR ALL OF THEIR
CONTRIBUTED CAPITAL.”)

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        105.    What: The Defendants, by and through public documents provided to investors

and potential investors, stated, inter alia:

           a.   That the GPB Funds were providing an 8% annual dividend to investors, when in

                fact the GPB Funds where generating little or no returns from the investments

                made by the Funds;

           b.   Omitting to disclose the 8% annual dividends that were reported as returns on

                investments made by the Funds were, in fact, taken from other investors’ capital

                investments and/or from the investor’s own capital contributions;

           c.   That, when stating that GPB Funds might make distributions out of capital

                investments, that in fact the Funds had been making such distributions out of

                capital investments in the past, and was intending to do so going forward;

           d.   Via account documents distributed at the direction of Defendants, that investors

                had been awarded substantial annual dividends on top of capital investment, when

                in fact the invested capital of those investors had been reduced in order to fund

                dividends to other investors; and

           e.   Omitting to disclose that the Underwriters issuing the limited partnerships of the

                Funds were controlled by the same principals as the Funds themselves, creating a

                clear conflict of interest.

        106.    When: Starting no later than 2013, and on an ongoing basis through to the

present.

        107.    Where: in Private Placement Memoranda, marketing materials, letters to

investors, and other similar documents distributed to Plaintiff, Class members, and the public.




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         108.   How: Defendants have affirmatively misrepresented, in writing, the nature of,

operation of, and state of investments made into the GPB Funds, as set forth above.

         109.   Why: For the purpose of inducing Plaintiff and Class members to purchase the

limited partnerships in the GPB Funds, rather than pursuing other investment opportunities. Had

Defendants disclosed the truth, Plaintiff and Class members would not have invested in the GPB

Funds.

                       VI. TOLLING OF STATUTES OF LIMITATIONS

         110.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.

         111.   All applicable statutes of limitation are and have been tolled by Defendants GPB

Capital, the GPB Funds, and GPB Principals, and the GPB Owners’ misrepresentations and

fraudulent concealment of the truth about the nature of the GPB Funds as set forth above.

         112.   Plaintiff and Class members could not, in the exercise of reasonable diligence,

have discovered the falsity of Defendants’ representations until the revelation of the nature of

those relationships via inside sources.

         113.   Defendants GPB Capital, the GPB Funds, and the GPB Principals, alongside the

other Defendants, engaged in an active and affirmative conspiracy to hide the truth of the nature

of, operation of, and state of investments made into the GPB Funds.

         114.   As such, all statutes of limitation are and have been tolled until the filing of this

Complaint.

                             VII. CLASS ACTION ALLEGATIONS

         115.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.



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       116.    Plaintiff brings this action individually and on behalf of all other persons similarly

situated (hereinafter referred to as “the Class”) pursuant to Federal Rule of Civil Procedure 23.

       117.    Plaintiffs propose the following Class definition, subject to amendment as

appropriate:

               All persons who held shares in any of the GPB Funds from November 5, 2015 to
               the present.
Collectively, all these persons will be referred to as “Class members.” Plaintiff represents, and is

a member of, the Class. Excluded from the Class are Defendants, any entities in which

Defendants have a controlling interest, and Defendants’ agents and employees, and any Judge to

whom this action is assigned and any member of such Judge’s staff and immediate family.

       118.    Plaintiff does not know the exact number of members in the Class, but reasonably

believe that Class members number, at a minimum, to be more than 2,000.

       119.    Plaintiff and members of the Class have been harmed and/or continue to be

harmed by the acts of Defendants.

       120.    Plaintiff seeks injunctive and declaratory relief on behalf of himself and all Class

members, as well as damages in their individual capacity.

       121.    The joinder of all Class members is impracticable due to the number of Class

members.

       122.    Additionally, the disposition of the claims in a class action will provide

substantial benefit to the parties and the Court in avoiding a multiplicity of identical suits and

inconsistent or varying adjudications with respect to individual Class members that would

establish incompatible standards of conduct for the party opposing the Class.

       123.    Further, the Class can be identified easily through records maintained by

Defendant GPB Capital and/or by the GPB Funds and/or the Underwriters.


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        124.    There are well-defined, nearly identical, common questions of law and fact

affecting all parties.

        125.    The questions of law and fact, referred to above, involving the class claims

predominate over questions that may affect individual Class members.

        126.    Such common questions of law and fact include, but are not limited to, the

following:

           a.   Whether Defendants had as their object to bring in investment proceeds by and

                through the GPB Funds, and to appropriate those proceeds for their own gain;

           b.   Whether Defendants engaged in activities intentionally directed to the purpose of

                bringing in investment proceeds by and through the GPB Funds, and to

                appropriate those proceeds for their own gain;

           c.   Whether the materials provided by the GPB Funds to investors, including but not

                limited to Private Placement Memoranda, marketing materials, letters to investors,

                and other similar documents, contained material misrepresentations and

                omissions;

           d.   Whether the Underwriters, the Auditors, and the Fund Administrator substantially

                assisted in the fraud conducted by GPB Funds with regard to investors;

           e.   Whether GPB Capital, David Gentile, and William Jacoby had fiduciary duties to

                Plaintiff and Class Members;

           f.   Whether GPB Capital, David Gentile, and William Jacoby breached their

                fiduciary duties to Plaintiff and Class Members;




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          g.    Whether the GPB Principals, CKGF, the Auditors, and the Fund Administrator

                substantially assisted in the breaches of fiduciary duty made by GPB Capital,

                David Gentile, and William Jacoby;

          h.    Whether the Auditors and the Fund Administrators owed a duty to the Plaintiff

                and Class Members;

          i.    Whether the Auditors and the Fund Administrators breached their duties to the

                Plaintiff and Class Members;

          j.    Whether GPB Capital and the GPB Funds violated the Texas Securities Act by

                and through making false material misrepresentations and omissions;

          k.    Whether GPB Capital and the GPB Funds violated the Texas Securities Act by

                and through selling unregistered securities;

          l.    Whether CKGF, the Auditors, and the Fund Administrator aided and abetted the

                violations of the Texas Security Act;

          m. Whether the Underwriters, CKGF, and the GPB Principals were “control persons”

                with regard to the violations of the Texas Security Act;

       127.     The claims of Plaintiff are typical of the claims of the Class they seek to

represent. Plaintiff and other Class members invested in one or more of GPB Funds during the

Class Period.

       128.     Plaintiff will fairly and adequately represent and protect the interests of the Class.

       129.     Plaintiff has no interests which are antagonistic to any member of the Class.

       130.     Plaintiff has retained counsel experienced in handling class action claims

involving breaches of contract and fiduciary duty, fraud, and securities violations. Plaintiff’s




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counsel is also experienced in prosecuting the claims of investors against entities that have

engaged in malfeasance with respect to investments.

        131.    Common issues predominate over any individual issues. The focus of these

claims is on the conduct of GPB Capital, the GPB Funds, and the associated persons and entities,

which did not vary as between class members. Resolution of these common questions will drive

the claims of all Class members toward judgment or resolution: they involve a “fatal similarity”

for purposes of the claims of all class members.

        132.    A class action is the superior method for the fair and efficient adjudication of this

controversy.

        133.    Class-wide relief is essential to resolve the claims regarding all potential investors

relating to all responsible parties.

        134.    Plaintiff therefore seeks certification of the Class pursuant to Rules 23(b)(1)(A),

(b)(2), and (b)(3). Plaintiff seeks certification of a Rule 23(b)(1)(A) class. Adjudicating

Defendants’ liability for the facts and claims alleged here poses a substantial risk of inconsistent

or varying adjudications with respect to individual class members that would establish

incompatible standards of conduct for the Defendants if a class is not certified.

        135.    Plaintiff seeks certification of an injunctive and declaratory relief class pursuant

to Rule 23(b)(2). Defendants have acted on grounds generally applicable to the Class, and the

violations complained of herein are substantially likely to continue in the future if an injunction

is not entered. Therefore, final injunctive relief and corresponding declaratory relief with respect

to the Class as a whole is appropriate.

        136.    Plaintiff seeks certification of a Rule 23(b)(3) class. As detailed above, common

questions regarding Defendants’ conduct predominate over any individual issues, and a class



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action is superior to the alternative of hundreds or thousands of individual cases involving the

same core facts and claims.

        137.    In the alternative, Plaintiff seeks certification of an “issues” class pursuant to Rule

23(c)(4). This class would incorporate, and allow for the adjudication of, all issues the Court

adjudges to be common to members of the class and subclass, such as one or more of the

common issues identified by Plaintiff in ¶ 121, supra.

                                   VIII. CAUSES OF ACTION

         COUNT 1: (AGAINST ALL DEFENDANTS EXCEPT THE GPB FUNDS)

                                          Civil Conspiracy

        138.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.

        139.    The GPB Funds were the vehicle through which all other Defendants—GPB

Capital, the Underwriters, EisnerAmper, the GPB principals, the Fund Administrator, RSM, and

the CKGF—perpetuated a complex and multi-faceted scheme to bring in investment income

from investors such as Plaintiff and the class members, and then extract the proceeds of those

investments for their own gain.

        140.    While each of the players or groups of players had their own part in the overall

scheme, and their own particularized income streams derived from their part, taken as a whole

this amounts to a coordinated effort by all Defendants (by and through the Funds) to defraud

Plaintiff and class members.

        141.    Under Texas law, a civil conspiracy requires “(1) two or more persons; (2) an

object to be accomplished; (3) a meeting of minds on the object or course of action; (4) one or

more unlawful, overt acts; and (5) damages as the proximate result.” Agar Corp., Inc. v. Electro

Circuits Int’l, LLC, 580 S.W.3d 136, 141 (Tex. 2019).

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       142.    As set forth in this complaint, more than 100 individuals and entities, named as

Defendants in this matter, are involved in some element of the overall scheme.

       143.    The object to be accomplished in this case was clear—to bring in investment

proceeds under false and misleading circumstances, and to then appropriate those assets for their

own benefit at the expense of those investors.

       144.    All Defendants had a meeting of the minds in this matter. They either engaged in

operations that were explicitly and intentionally designed to defraud investors, or had full

information necessary to know that the purpose of the GPB Funds was to defraud investors and

chose nevertheless to participate.

       145.    Defendants, individually and collectively, engaged in numerous unlawful, overt

acts as set forth in Plaintiff’s subsequent causes of action.

       146.    Finally, Plaintiff and class members have lost, collectively over $1.8 billion,

representing the money invested in the GPB Funds that is currently in the hands of Defendants,

or remaining in the funds themselves.

  COUNT 2: (AGAINST DEFENDANTS GPB CAPITAL, THE GPB FUNDS, THE GPB
                  PRINICPALS, AND THE GPB OWNERS)

                                                Fraud

       147.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

       148.    GPB Capital, the GPB Funds, the GPB Principals, and the GPB Owners

knowingly made false representations and omissions regarding the nature of the limited

partnership interests offered for sale, including but not limited to (as alleged herein, supra) that

the GPB Funds were and would return 8% return on investment proceeds, when in fact those




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distributions were being made out of the capital contributions of other investors and/or the

investor’s own capital account.

         149.   GPB Capital, the GPB Funds, the GPB Principals, and the GPB Owners knew

these representations were false at the time they were made.

         150.   Moreover, these false statements or omissions were made by GPB Capital, the

GPB Funds, the GPB Principals, and the GPB Owners for the purpose of inducing Plaintiff,

Class Members, and other potential investors to rely on those representations and invest in the

GPB Funds.

         151.   Plaintiff and Class Members justifiably relied on those representations by GPB

Capital, the GPB Funds, the GPB Principals, and the GPB Owners.

         152.   As a result, Plaintiff and Class members were injured as a result of the false and

misleading statements or omissions, in that their investments in the GPB Funds have lost most or

all of their value.

         153.   Plaintiff and the Class, therefore, seek damages in an amount to be determined at

trial.

 COUNT 3: (AGAINST THE UNDERWRITERS AND THE FUND ADMINISTRATOR)

                      Substantially Assisting in the Commission of Fraud

         154.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

         155.   As set forth in Count Two, GPB Capital, the GPB Funds, the GPB Principals, and

the GPB Owners engaged in fraud by knowingly making false representations and omissions

regarding the nature and operations of the GPB Funds.

         156.   These knowingly false and misleading statements and omissions were transmitted

to investors via the Underwriters and the Fund Administrator. Absent this transmission of the

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false statements to investors, GPB Capital, the GPB Funds, and the GPB Principals, and the GPB

Owners would not have been able to carry out their fraudulent scheme.

        157.    Moreover, the Underwriters, and the Fund Administrator knew that the statements

by the GPB entities were false. More specifically, inter alia, they knew that it was not possible

for the GPB Funds to pay out a consistent 8% return given the fee structure of the Funds (fees

that, in part, were being funneled to the Underwriters and the Fund Administrator), and they

knew of the extensive and irreconcilable conflicts of interests that were endemic to the operation

and management of the GPB Funds.

        158.    As such, the Underwriters and the Fund Administrator provided substantial

assistance to the GPB entities in their fraudulent conduct.

        159.    As a result of this substantial assistance, Plaintiff and Class members are entitled

to damages in an amount to be proven at trial.

           COUNT 4: (AGAINST GPB CAPITAL AND THE GPB PRINICPALS)

                                    Breach of Fiduciary Duty

        160.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.

        161.    GPB Capital is, and for all relevant times was, the general partner of the GPB

Funds, and was a registered investment advisor. The GPB Principals, individually and

collectively, were responsible for carrying out GPB Capital’s duties.

        162.    As such, GPB Capital and the GPB Principals owed fiduciary duties to the

investors who bought limited partnerships in the GPB Funds. These duties may not be waived or

contracted around.

        163.    GPB Capital and the GPB Principals breached their fiduciary duties in several

respects, set forth in more detail supra. More specifically, inter alia, (1) the GPB Funds were

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operated intentionally as a Ponzi scheme, extracting proceeds from investors for their own gains;

(2) GPB Capital had massive and wholly undisclosed conflicts of interests, in the form of the co-

ownership relationship between GPB Capital, the GPB Funds, and the Underwriters; and (3) the

GPB Funds engaged in self-dealing transactions that directly benefitted Gentile and other

insiders at the expense of the Funds and the investors.

       164.    But for these breaches of fiduciary duty, Plaintiff and Class members would not

have sustained the loss of their investment capital.

       165.    As such, Plaintiff and Class members were damaged, and are entitled to damages

in an amount to be proven at trial.

COUNT 5: (AGAINST THE GPB OWNERS, CKGF, THE AUDITORS, EISNERAMPER,
                   AND THE FUND ADMINISTRATOR)

                    Substantially Assisting in the Breach of Fiduciary Duty

       166.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

       167.    As set forth in Count Four, GPB Capital and the GPB Principals breached their

fiduciary duties to Plaintiff and Class Members.

       168.    The GPB Owners, who shared co-ownership of GPB Capital, knew of the conduct

by GPB Capital (and, indeed were actively involved in the breaches), profited directly from those

breaches, and did nothing to alert relevant parties as to those breaches.

       169.    Similarly, CKGF, which shared many of the same interrelationships and were

directly involved in the self-dealing fiduciary duty breaches, knew of the conduct of GPB

Capital, profited directly from the breaches, and did nothing to alert relevant parties as to those

breaches.




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       170.    Likewise, the Auditors and the Fund Administrator knew of the conduct by GPB

Capital, Gentile, and Jacoby, knew of the duties those parties owed to Plaintiff and Class

Members, and took active steps to cover up the breaches. Specifically, the Auditors and the

Fund Administrators failed to alert relevant parties as to those breaches, and distributed

documents that contained false statements designed to hide the breaches of fiduciary duty by

GPB Capital, Gentile, and Jacoby.

       171.    Finally, EisnerAmper knew of the conduct by GPB Capital, Gentile, and Jacoby,

knew of the duties those parties owed to Plaintiff and Class Members, and took active steps to

cover up the breaches. Specifically, EisnerAmper failed to alert relevant parties as to those

breaches, and knowingly allowed their continued status as auditor of the GPB Funds to be

utilized in public statements by GPB Capital and the GPB Principals to dissuade Plaintiff and

Class Member from investigating GPB Capital’s activities.

       172.    As a direct and proximate cause of the substantial assistance provided by these

parties, Plaintiff and other Class Members were damaged, and are entitled to damages in an

amount to be proven at trial.

     COUNT 6: (AGAINST THE AUDITORS AND THE FUND ADMINISTRATOR)

                                            Negligence

       173.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

       174.    The Auditors had a duty to Plaintiff and Class Members to exercise reasonable

care in conducting and facilitating the audits that they knew would be provided to Plaintiff and

Class Members.

       175.    The Auditors breached that duty by providing material incorrect audit documents,

in violation of applicable accounting standards and in a negligent manner.

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        176.       The Fund Administrator had a duty to Plaintiff and Class Members to exercise

reasonable care in the preparation of account statements that were distributed to Plaintiff and

Class Members.

        177.       The Fund Administrator breached that duty by providing material incorrect

account statements, in violation of applicable standards in the financial services industry and in a

negligent manner.

        178.       Defendants negligent and wrongful breaches of its duties owed to Plaintiffs and

Class members proximately caused losses, in the form of investment losses that would not have

occurred if Defendants had shown due care toward its customers by following applicable rules

and standards.

        179.       These losses reflect damages to Plaintiff and Class members in an amount to be

proven at trial.

               COUNT 7: (AGAINST GPB CAPITAL AND THE GPB FUNDS)

                                  Violations of the Texas Security Act

        180.       Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

        181.       Texas Revised Civil Statutes, art. 581-33(A)(2) provides that “[a] person who

offers or sells a security (whether or not the security or transaction is exempt under Section 5 or

6 of this Act) by means of an untrue statement of a material fact or an omission to state a

material fact necessary in order to make the statements made, in light of the circumstances under

which they are made, not misleading, is liable to the person buying the security from him, who

may sue either at law or in equity for rescission, or for damages if the buyer no longer owns the

security.”



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        182.    Section (A)(4) makes clear that a “security” includes limited partnership interests

of the type offered by the GPB Funds.

        183.    As set forth above, GPB Capital and the GPB Funds made numerous false or

deliberately misleading statements about the nature of the GPB Funds, including, inter alia, (1)

the GPB Funds were operated intentionally as a Ponzi scheme, extracting proceeds from

investors for their own gains; (2) GPB Capital had massive and wholly undisclosed conflicts of

interests, in the form of the co-ownership relationship between GPB Capital, the GPB Funds, and

the Underwriters; and (3) the GPB Funds engaged in self-dealing transactions that directly

benefitted Gentile and other insiders at the expense of the Funds and the investors.

        184.    As such, Plaintiff and the Class Members are entitled to rescission or damages in

an amount to be proven at trial.

   COUNT 8: (AGAINST DEFENDANTS THE AUDITORS, CKGF, AND THE FUND
                          ADMINISTRATOR)

                    Aiding and Abetting Violations of the Texas Security Act

        185.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

        186.    Texas Revised Civil Statutes, art. 581-33(F)(2) provides that “[a] person who

directly or indirectly with intent to deceive or defraud or with reckless disregard for the truth or

the law materially aids a seller, buyer, or issuer of a security is liable under Section 33A, 33B, or

33C jointly and severally with the seller, buyer, or issuer, and to the same extent as if he were the

seller, buyer, or issuer.”

        187.    As set forth in Count Seven, GPB Capital and the GPB Funds violated Texas

Revised Civil Statutes, art. 581-33(A)(2), by making numerous and consistent false statements

regarding the nature and operation of the GPB Funds.


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       188.    Defendant CKGF knew of the conduct of GPB Capital, was involved in the

improper and self-dealing transactions that were not disclosed to Plaintiff and Class Members,

and did nothing to alert relevant parties as to those breaches.

       189.    Likewise, the Auditors and the Fund Administrator knew of the conduct by GPB

Capital and took active steps to cover up the breaches. Specifically, the Auditors and the Fund

Administrators failed to alert relevant parties as to those breaches, and distributed documents that

contained the false statements of GPB Capital and the GPB Funds.

       190.    As such, the Auditors and the Fund Administrator are jointly and severally liable

for the violations set forth in Count Seven.

 COUNT 9: (AGAINST DEFENDANTS THE GPB PRINCIPALS, THE GPB OWNERS,
                    THE UNDERWRITERS, AND CKGF)

                      Control Person Violations of the Texas Security Act

       191.    Plaintiffs incorporate by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

       192.    Texas Revised Civil Statutes, art. 581-33(F)(2) provides that “[a] person who

directly or indirectly controls a seller, buyer, or issuer of a security is liable under Section 33A,

33B, or 33C jointly and severally with the seller, buyer, or issuer, and to the same extent as if he

were the seller, buyer, or issuer, unless the controlling person sustains the burden of proof that he

did not know, and in the exercise of reasonable care could not have known, of the existence of

facts by reason of which the liability is alleged to exist.”

       193.    As set forth in Count Seven, GPB Capital and the GPB Funds violated Texas

Revised Civil Statutes, art. 581-33(A)(2), by making numerous and consistent false statements

regarding the nature and operation of the GPB Funds.




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        194.    The GPB Principals were the day-to-day operators of GPB Capital, and were

responsible for carrying out its operations.

        195.    The GPB Owners directly control GPB Capital and the GPB Funds through a co-

ownership relationship between GPB Capital and the Underwriters.

        196.    The Underwriters indirectly control GPB Capital and the GPB Funds via the same

co-ownership arrangement via the GPB Principals.

        197.    Finally, CKGF indirectly controls GPB Capital and the GPB Funds, as the

principals of CKGF and GPB Capital overlap, as David Gentile is a key member of both entities.

        198.    As such, the GPB Principals, the GPB Owners, the Underwriters, and CKGF are

jointly and severally liable for the violations set forth in Count Seven.

               COUNT 10: (AGAINST GPB CAPITAL AND THE GPB FUNDS)

                                Violations of the Texas Security Act

        199.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

        200.    Texas Revised Civil Statutes, art. 581-33(A)(1) provides that [a] person who

offers or sells a security in violation of Section 7 . . . of this Act is liable to the person buying the

security from him, who may sue either at law or in equity for rescission or for damages if the

buyer no longer owns the security.”

        201.    Texas Revised Civil Statutes, art. 581-7(A) states that “[n]o dealer or agent shall

sell or offer for sale any securities . . . except those which have been registered . . . and except

those which come within the classes enumerated in Section 5 or Section 6 of this Act, until the

issuer of such securities or a dealer registered under the provisions of this Act shall have been

granted a permit by the Commissioner . . . .”



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        202.    The limited partnerships offered by the GPB Funds and sold by GPB Capital were

not registered pursuant Section 7(A) of the Texas Securities Act.

        203.    The limited partnerships offered by the GPB Funds and sold by GPB Capital were

not exempt under Section 5 of the Texas Securities Act.

        204.    The limited partnerships offered by the GPB Funds and sold by GPB Capital were

not exempt under Section 6 of the Texas Securities Act, as they, inter alia, are not listed on an

approved national stock exchange. See Texas Revised Civil Statutes, art. 581-6(F).

        205.    GPB Capital and the GPB Funds sold these unregistered securities to Plaintiff and

Class Members, in violation of Section 7(A).

        206.    As such, Plaintiff and the Class Members are entitled to rescission or damages in

an amount to be proven at trial.

       COUNT 11: (AGAINST DEFENDANTS THE AUDITORS, AND THE FUND
                            ADMINISTRATOR)

                    Aiding and Abetting Violations of the Texas Security Act

        207.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

        208.    Texas Revised Civil Statutes, art. 581-33(F)(2) provides that “[a] person who

directly or indirectly with intent to deceive or defraud or with reckless disregard for the truth or

the law materially aids a seller, buyer, or issuer of a security is liable under Section 33A, 33B, or

33C jointly and severally with the seller, buyer, or issuer, and to the same extent as if he were the

seller, buyer, or issuer.”

        209.    As set forth in Count Ten, GPB Capital and the GPB Funds violated Texas

Revised Civil Statutes, art. 581-7(A), by selling to Plaintiff and Class Members unregistered

securities, in the form of the limited partnerships in the GPB Funds.


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       210.    Defendants the Auditors and the Fund Administrator knew that GPB Capital and

the GPB Funds were selling limited partnerships to Plaintiff and Class Members, knew or should

have known that these securities were unregistered, and knew or should have known that they

were required to be registered under Section 7(A) of the Texas Securities Act.

       211.    As such, the Auditors and the Fund Administrator are jointly and severally liable

for the violations set forth in Count Ten.

COUNT 12: (AGAINST DEFENDANTS THE GPB PRINCIPALS, THE GPB OWNERS,
                   THE UNDERWRITERS, AND CKGF)

                      Control Person Violations of the Texas Security Act

       212.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein, except for the paragraphs in the other Counts, infra and supra.

       213.    Texas Revised Civil Statutes, art. 581-33(F)(2) provides that “[a] person who

directly or indirectly controls a seller, buyer, or issuer of a security is liable under Section 33A,

33B, or 33C jointly and severally with the seller, buyer, or issuer, and to the same extent as if he

were the seller, buyer, or issuer, unless the controlling person sustains the burden of proof that he

did not know, and in the exercise of reasonable care could not have known, of the existence of

facts by reason of which the liability is alleged to exist.”

       214.    As set forth in Count Ten, GPB Capital and the GPB Funds violated Texas

Revised Civil Statutes, art. 581-7(A), by selling to Plaintiff and Class Members unregistered

securities, in the form of the limited partnerships in the GPB Funds.

       215.    The GPB Principals were the day-to-day operators of GPB Capital, and were

responsible for carrying out its operations.

       216.    The GPB Owners directly control GPB Capital and the GPB Funds through a co-

ownership relationship between GPB Capital and the Underwriters.


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       217.    The Underwriters indirectly control GPB Capital and the GPB Funds via the same

co-ownership arrangement via the GPB Principals.

       218.    Finally, CKGF indirectly controls GPB Capital and the GPB Funds, as the

principals of CKGF and GPB Capital overlap, as David Gentile is a key member of both entities.

       219.    As such, the GPB Principals, the Underwriters, and CKGF are jointly and

severally liable for the violations set forth in Count Ten.

                                   IX. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully requests that the Court grant Plaintiff and all Class

members the following relief against the Defendants:

       A.      For all recoverable compensatory and other damages sustained by Plaintiffs and

the Class;

       B.      For the rescission of all investments made by Plaintiff and Class Members to the

GPB Funds, as well as all transactions made by the GPB Funds to other entities in furtherance of

the civil conspiracy;

       C.      An award of attorneys’ fees and costs to counsel for Plaintiffs and the Class;

       D.      An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing an appropriate Class or Classes and any Subclasses the Court

deems appropriate, finding that Plaintiffs are proper representatives of the Class, and appointing

the lawyers and law firms representing Plaintiffs as counsel for the Class;

       E.      Such other relief as the Court deems just and proper.




 Dated: January 9, 2020                    By: s/___L. Todd Kelly________________

                                           THE CARLSON LAW FIRM, P.C.
                                           L. Todd Kelly

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                               DEMAND FOR JURY TRIAL

     Plaintiff demands a trial by jury on all counts so triable.


Dated: January 9, 2020
                                        By: s/__L. Todd Kelly_____________

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                              CERTIFICATE OF SERVICE

      I hereby Certify that, on this 9th day of January 2020, I electronically filed the amended

Complaint with the Clerk of Court using the CM/EMF system.




                                                                   _/s/_L. Todd Kelly______
                                                                   L. Todd Kelly




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